Case 8:17-cr-00189-DOC Document 55 Filed 02/03/20 Page 1 of 6 Page ID #:287
               Case 8:17-cr-00189-DOC Document 55 Filed 02/03/20 Page 2 of 6 Page ID #:288

    USA vs.   JASON GLASSER                                           Docket No.:   SA CR 17-00189-DOC

      The defendant shall be held jointly and severally liable with convicted coconspirator David Willner (Docket No.
SA18CR00184-DOC) for the amount of restitution ordered in this judgment. The victim’s recovery is limited to the
amount of their loss and the defendant’s liability for restitution ceases if and when the victim receives full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

       If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless
another priority order or percentage payment is specified in this judgment.

          The defendant shall comply with General Order No. 18-10.

        Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine in addition to restitution.

        The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide
all necessary treatment.1

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three (3) years
under the following terms and conditions:

              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                 Services Office and General Order 18-10, excluding Condition 14 in Section I of that Order, but including
                 the conditions of probation and supervised release set forth in Section III of General Order 18-10.

              2. During the period of community supervision, the defendant shall pay the special assessment and restitution
                 in accordance with this judgment's orders pertaining to such payment.

              3. The defendant shall cooperate in the collection of a DNA sample from the defendant.

              4. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                 judgments and any anticipated or unexpected financial gains to the outstanding Court-ordered financial
                 obligation.

              5. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
                 to one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not
                 to exceed eight tests per month, as directed by the Probation Officer.

              6. The defendant shall participate in an outpatient substance abuse treatment and counseling program that
                 includes urinalysis, breath and/or sweat patch testing, as directed by the Probation Officer. The defendant
                 shall abstain from using alcohol and illicit drugs, and from abusing prescription medications during the
                 period of supervision.



1
 The discussion of mental health programs is not intended to be part of the Court’s decision on whether to sentence the
defendant to incarceration or on the length of the term to be imposed, but is merely to provide an indication of possible
opportunities for rehabilitation within the prison system.

CR-104 (docx 01/2020)                     JUDGMENT & PROBATION/COMMITMENT ORDER                                             Page 2 of 6
               Case 8:17-cr-00189-DOC Document 55 Filed 02/03/20 Page 3 of 6 Page ID #:289

 USA vs.      JASON GLASSER                                          Docket No.:   SA CR 17-00189-DOC

              7. The defendant shall participate in mental health treatment, which may include evaluation and counseling,
                 until discharged from the program by the treatment provider, with the approval of the Probation Officer.

              8. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
                 treatment to the aftercare contractors during the period of community supervision. The defendant shall
                 provide payment and proof of payment as directed by the Probation Officer. If the defendant has no ability
                 to pay, no payment shall be required.

              9. The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business
                 involving loan programs, telemarketing activities, investment programs or any other business involving
                 the solicitation of funds or cold-calls to customers without the express approval of the Probation Officer
                 prior to engaging in such employment. Further, the defendant shall provide the Probation Officer with
                 access to any and all business records, client lists, and other records pertaining to the operation of any
                 business owned, in whole or in part, by the defendant, as directed by the Probation Officer.

              10. The defendant shall submit person and property to search and seizure at any time of the day or night by
                  any law enforcement officer with or without a warrant and with or without reasonable or probable cause.

              11. The defendant shall report to the United States Probation & Pretrial Services Office within 72 hours of his
                  release from custody.

              12. The defendant shall report in person directly to the Court within 21 days of his release from custody, at a
                  date and time to be set by the United States Probation Office, and thereafter report in person to the Court
                  as directed during his first year of supervised release.

              13. The defendant shall not possess, have under control, or have access to any firearm, explosive device, or
                   other dangerous weapon, as defined by federal, state, or local law.

        The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance
abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further
redisclosure of the Presentence Report by the treatment provider is prohibited without the consent of the sentencing judge.

       The Court authorizes the Probation Officer to disclose the Presentence Report, and/or any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of the client's rehabilitation.

        It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at
or before 12 noon, on a date specified by the Court. In the absence of such designation, the defendant shall report on or
before MARCH 18, 2020, noon, to the United States Marshal located at the United States Court House, 411 West Fourth
Street, Santa Ana, California 92701.

        The Court recommends the defendant be placed in the Bureau of Prisons 500-hour RDAP program. The Court
also recommends the defendant be designed to FPC Montgomery, Alabama.

         Defendant advised of right to appeal. Defendant’s bond shall be exonerated upon surrender.




CR-104 (docx 01/2020)                      JUDGMENT & PROBATION/COMMITMENT ORDER                                     Page 3 of 6
               Case 8:17-cr-00189-DOC Document 55 Filed 02/03/20 Page 4 of 6 Page ID #:290

 USA vs.      JASON GLASSER                                                          Docket No.:       SA CR 17-00189-DOC



 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions
 of Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
 supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
 maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
 supervision period.




            February 3, 2020
            Date                                                            DAVID O. CARTER, U. S. District Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or
 other qualified officer.

                                                                            Clerk, U.S. District Court




            February 3, 2020                                        By      Kelly Davis
            Filed Date                                                      Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                        STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                        While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;       10.   the defendant shall not associate with any persons engaged in
 2.    the defendant shall not leave the judicial district without the written             criminal activity, and shall not associate with any person convicted
         permission of the court or probation officer;                                     of a felony unless granted permission to do so by the probation
 3.    the defendant shall report to the probation officer as directed by the              officer;
         court or probation officer and shall submit a truthful and complete       11.   the defendant shall permit a probation officer to visit him or her at
         written report within the first five days of each month;                          any time at home or elsewhere and shall permit confiscation of any
 4.    the defendant shall answer truthfully all inquiries by the probation                contraband observed in plain view by the probation officer;
         officer and follow the instructions of the probation officer;             12.   the defendant shall notify the probation officer within 72 hours of
 5.    the defendant shall support his or her dependents and meet other                    being arrested or questioned by a law enforcement officer;
         family responsibilities;                                                  13.   the defendant shall not enter into any agreement to act as an informer
 6.    the defendant shall work regularly at a lawful occupation unless                    or a special agent of a law enforcement agency without the
         excused by the probation officer for schooling, training, or other                permission of the court;
         acceptable reasons;                                                       14.   as directed by the probation officer, the defendant shall notify third
 7.    the defendant shall notify the probation officer at least 10 days prior             parties of risks that may be occasioned by the defendant’s criminal
         to any change in residence or employment;                                         record or personal history or characteristics, and shall permit the
 8.    the defendant shall refrain from excessive use of alcohol and shall                 probation officer to make such notifications and to conform the
         not purchase, possess, use, distribute, or administer any narcotic or             defendant’s compliance with such notification requirement;
         other controlled substance, or any paraphernalia related to such          15.   the defendant shall, upon release from any period of custody, report
         substances, except as prescribed by a physician;                                  to the probation officer within 72 hours;
 9.    the defendant shall not frequent places where controlled substances         16.   and, for felony cases only: not possess a firearm, destructive device,
         are illegally sold, used, distributed or administered;                            or any other dangerous weapon.




CR-104 (docx 01/2020)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                            Page 4 of 6
               Case 8:17-cr-00189-DOC Document 55 Filed 02/03/20 Page 5 of 6 Page ID #:291

 USA vs.      JASON GLASSER                                                        Docket No.:     SA CR 17-00189-DOC



      The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
 subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
 not applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

          The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
 the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18
 U.S.C. §3563(a)(7).

           Payments shall be applied in the following order:

                        1. Special assessments pursuant to 18 U.S.C. §3013;
                        2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                          States is paid):
                                  Non-federal victims (individual and corporate),
                                  Providers of compensation to non-federal victims,
                                  The United States as victim;
                        3. Fine;
                        4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                        5. Other penalties and costs.

                                  SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                   These conditions are in addition to any other conditions imposed by this judgment.




                                                                       RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                       to
 Defendant noted on appeal on
 Defendant released on


CR-104 (docx 01/2020)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 5 of 6
               Case 8:17-cr-00189-DOC Document 55 Filed 02/03/20 Page 6 of 6 Page ID #:292

 USA vs.      JASON GLASSER                                                     Docket No.:       SA CR 17-00189-DOC

 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                                 Date




                    U. S. Probation Officer/Designated Witness                                Date




CR-104 (docx 01/2020)                           JUDGMENT & PROBATION/COMMITMENT ORDER                                                       Page 6 of 6
